           Case 2:04-cr-00549-JLR         Document 846        Filed 09/09/09     Page 1 of 2




 1

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                      Plaintiff,    )   Case No. CR04-549-JLR
                                                      )
10         v.                                         )   PROPOSED FINDINGS OF
                                                      )   FACT AND DETERMINATION
11 DUSTIN JORDAN,                                     )   AS TO ALLEGED
                                                      )   VIOLATIONS OF SUPERVISED
12                                    Defendant.      )   RELEASE

13                                        INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on September

15 9, 2009. The defendant appeared pursuant to a warrant issued in this case. The United States

16 was represented by Ye-Ting Woo, and defendant was represented by Kevin Peck. Also present

17 was U.S. Probation Officer Donald E. Moon. The proceedings were digitally recorded.

18                                SENTENCE AND PRIOR ACTION

19       Defendant was sentenced on December 12, 2005 by the Honorable James L. Robart for

20 Possession with Intent to Distribute more than 50 kilograms of Marijuana. He received 21

21 months of imprisonment and 5 years of supervised release.

22 ///

23 ///


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE- 1
              Case 2:04-cr-00549-JLR        Document 846         Filed 09/09/09     Page 2 of 2




 1                          PRESENTLY ALLEGED VIOLATIONS AND
                          DEFENDANT'S ADMISSION OF THE VIOLATION
 2
         In a petition dated August 3, 2009, U.S. Probation Officer Donald E. Moon alleged that
 3
     defendant violated the following conditions of supervised release:
 4
         1.       Failing to submit truthful written reports for the months of March, April, and May
 5
     2009, in violation of standard condition number 2.
 6
         2.       Possession of methamphetamine on or about August 3, 2009, in violation of
 7
     standard condition number 7.
 8
         3.       Possession of drug paraphernalia on or about August 3, 2009, in violation of
 9
     standard condition number 7.
10
         4.       Failing to notify the probation office at least 10 days prior to a change in residence,
11
     on or before August 3, 2009, in violation of standard condition number 6.
12
         5.       Manufacturing Marijuana, in violation of 21 U.S.C. § 841(b)(1)(D), on or before
13
     August 3, 2009, in violation of a general condition.
14
         Defendant admitted the above violations, waived any hearing as to whether they occurred,
15
     and was informed the matter would be set for a disposition hearing on October 7, 2009 at 1:30
16
     p.m. before District Judge James L. Robart.
17
                          RECOMMENDED FINDINGS AND CONCLUSIONS
18
         Based upon the foregoing, I recommend the court find that defendant has violated the
19
     conditions of his supervised release as alleged above, and conduct a disposition hearing.
20
         DATED this 9th day of September, 2009.
21

22                                                          A
                                                            BRIAN A. TSUCHIDA
                                                            United States Magistrate Judge
23


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE- 2
